                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION




 REPUBLICAN NATIONAL COMMITTEE,
 et al.,

                        Plaintiffs,
                                                             No. 1:24-cv-25-LG-RPM
        v.                                                          (lead case)

 JUSTIN WETZEL, et al.,

                        Defendants.


 LIBERTARIAN PARTY OF MISSISSIPPI,

                        Plaintiff,                             No. 1:24-cv-37-LG-RPM
        v.                                                        (consolidated)

 JUSTIN WETZEL, et al.,

                        Defendants.



                 PLAINTIFF LIBERTARIAN PARTY OF MISSISSIPPI’S
                 RESPONSE TO THE ORDER TO SHOW CAUSE, ECF 95


       Plaintiff Libertarian Party of Mississippi (“Plaintiff”), through counsel, respectfully files

this response to the Court’s Order to Show Cause. ECF 95. The Order directed the undersigned

counsel to show cause: “(1) why he should not be sanctioned for allowing a non-Mississippi

attorney to include his name on pleadings prior to obtaining PHV admission; and (2) why

applicant’s PHV motion should not be denied for failing to comply with Mississippi law regarding

unauthorized practice of law and for violating L.U. Civ. R. 83.1(d)(7)(E).” Id. at 2.
       Local counsel is lead counsel for Plaintiff and is the attorney actively participating in and

responsible for all filings. As set forth below, good cause does not exist to sanction the local

counsel for his good faith error. Indeed, no federal court in Mississippi has ever sanctioned an

attorney for violating L.U. CIV. R. 83.1(d)(7)(E). The instant situation does not warrant departing

from that practice especially given that no party or amici objected to Mr. Lee’s application while

it has been pending for some months or otherwise alleged that inclusion of his name on the

signature block prejudiced them in any way.

       Contemporaneously with the filing of this Response, local counsel withdrew the pro hac

vice application filed on behalf of Mr. Lee. ECF 45. Accordingly, consideration of whether to grant

or deny Mr. Lee’s application for pro hac vice admission is now moot.

                                           Background

       The Republican National Committee and other plaintiffs filed the lead case on January 26,

2024. ECF 1. Plaintiff Libertarian Party of Mississippi filed its complaint on February 5, 2024.

See Libertarian Party of Mississippi v. Wetzel, Civ. No. 24-cv-37, ECF 1. Both complaints include

three claims under 42 U.S.C. § 1983, invoking this Court’s federal question jurisdiction. Id. at ¶¶

11 and 57-81; and 28 U.S.C. § 1331. All three claims raise questions related to the federal election

day statutes applicable to the November 5, 2024 federal election. Id. On March 1, 2024, the District

Court issued an order consolidating the cases. ECF 35.

       The parties worked in good faith to develop an appropriate briefing schedule for cross-

motions for summary judgment and filed a joint motion seeking entry of that schedule on March

5, 2024. ECF 37. The Court entered the Joint Motion that same day. ECF 38. On March 6, 2024,

local counsel for Plaintiff filed an application for his colleague, Mr. Eric Lee, to appear pro hac

vice on behalf of the Plaintiff. ECF 44. No party objected to this application or claimed it was




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insufficient under the local rules. During the period of March 26 through April 16, 2024, the parties

filed three rounds of briefing addressing complex constitutional, statutory, and historical questions

related to national federal electoral practices. See ECF 50-58, 60-64, 73-92.

       On May 9, 2024, the United States Magistrate Judge sua sponte entered three orders to

show cause regarding pending pro hac vice motions filed by attorneys not licensed in Mississippi.

ECF 93-95. The Order directed at Plaintiff Libertarian Party noted that Mr. Lee’s name appeared

on Plaintiff’s complaint, scheduling order, and other filings that followed his application to appear

pro hac vice during the expedited briefing schedule. ECF 95. In each instance, the Order noted,

the notation of “Application for pro hac vice forthcoming” appeared by Mr. Lee’s name. Id. The

Order noted that Plaintiff’s “Mississippi-licensed attorney” signed and filed the documents. Id.

The Magistrate Judge concluded that Mr. Lee “appears to have violated “the Court’s Local Rule

regarding PHV admissions” and that Mr. Lee “‘appeared in federal court’ prior to securing PHV

admissions in violation of L.U. Civ. R. 83.1(d)(7)(E).” Id. The Order then cited In re Williamson,

838 So. 2d 226 (Miss. 2002), which governs appearances in Mississippi state courts under Miss.

R. App. P. 46. The Order directed local counsel to show cause: “(1) why he should not be

sanctioned for allowing a non-Mississippi attorney to include his name on pleadings prior to

obtaining PHV admission; and (2) why applicant’s PHV motion should not be denied for failing

to comply with Mississippi law regarding unauthorized practice of law and for violating L.U. CIV.

R. 83.1(d)(7)(E).” ECF 95 at 2.

I.     A Violation of L.U. CIV. R. 83.1(d)(7)(E) is Not Cause to Sanction Local Counsel.

       Election litigation is unique and often involves truncated proceedings and breakneck

briefing schedules. This case has been no different. The parties before the Court worked diligently

to develop and adhere to a briefing schedule that would “secure the just, speedy, and inexpensive




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determination” of this action.” ECF 38; Fed. R. Civ. P. 1. From January 26, 2024 through April

16, 2024, the parties engaged in multiple rounds of briefing to the Court on complex questions of

law. See ECF 50-58, 60-64, 73-92.

       Local counsel is lead counsel for Plaintiff and is actively participating in and responsible

for all litigation filings and decisions. Given the nature and pace of election litigation, lead counsel

generally discloses the name(s) of his colleagues who will seek pro hac vice admission so that the

courts and other litigants are aware other attorneys available within his organization who can

respond to inquiries immediately in the event that lead counsel is temporarily unavailable. This

has been counsel’s practice in similar cases in other districts.1 Thus, the inclusion of Mr. Lee’s

signature block on filings was simply a good faith decision to disclose to the Court and all litigants

the name of another attorney who may be available on short notice and who would be moving to

appear in the case pro hac vice. Indeed, during the course of the briefing schedule, local counsel

had several out-of-state proceedings in multiple different states that made him unavailable for

significant periods of time. Until the Show Cause Order was entered, local counsel believed that

federal courts in Mississippi followed the majority rule that an attorney is not considered to have

“appeared” until he enters his notice of appearance or, in the case of foreign attorneys, filed his

application to appear pro hac vice. See, e.g., In re Autozoners, LLC, 649 S.W.3d 774, 782, 687




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        See Judicial Watch, Inc. v. North Carolina, No. 20-cv-211 (W.D.N.C. April 9, 2020), ECF
No. 1 at 17; Judicial Watch, Inc. v. Pennsylvania, No. 20-cv-708 (M.D. Pa. April 28, 2020), ECF
No. 1 at 20; Judicial Watch, Inc. v. Griswold, No. 20-cv-2992 (D. Colo. Oct. 5, 2020), ECF No. 1
at 15; Griffin v. Padilla, No. 19-cv-1477 (E.D. Cal. Aug. 1, 2019), ECF No. 1; Issa v. Newsom,
No. 20-cv-501 (E.D. Cal. May 21, 2020), ECF No. 1. The North Carolina, Pennsylvania, and Issa
cases featured intervenors or amici who similarly listed out-of-state licensed attorney whose pro
hac vice applications were not yet filed.

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S.W.3d 315, 782 (Tex. App. 2022) (Alley, J. concurring) (noting that Mississippi is part of a

“narrow-line” of authorities that interpret “appear” so broadly as to include signature blocks).2

       Federal courts in Mississippi have considered the question of how to handle foreign

attorneys who “appear” under In re Williamson prior to pro hac vice admission eight times,

according to local counsel’s research.3 Those cases range from instances in which a foreign

attorney’s signature block appeared on filings to more overt acts such signing pleadings and

violating other provisions of L.U. CIV. R. 83.1(d). The courts in those cases never considered—let

alone authorized—sanctions against local counsel for filings that included a foreign attorney’s

signature block. None even struck the offending pleading. The most severe outcomes occurred in

three cases in which the court either denied or revoked a foreign attorney’s pro hac vice

application. See Isom v. Valley Forge Ins. Co., No. 2:16-CV-109-KS-MTP, 2016 U.S. Dist. LEXIS

103261 at *4-5 (S.D. Miss. Aug. 5, 2016) (disqualifying attorneys who allowed their names to be

listed on the complaint, attempted to negotiate a settlement, and failed to respond to the motion to

disqualify them); Reech v. Sullivan, No. 3:18-CV-35-HSO-LRA, 2018 U.S. Dist. LEXIS 57935 at

*2 (S.D. Miss. Apr. 5, 2018) (disqualifying foreign attorneys who signed several documents and

only filed their pro hac vice applications after another party filed a motion to disqualify them);

and Woods v. Gay Toys, Inc., No. 3:22-CV-070-MPM-RP, 2023 U.S. Dist. LEXIS 4288 (N.D.

Miss. Jan. 4, 2023) (sua sponte revocation of pro hac vice admission based on foreign attorney’s

flagrant and repeated violation of L.U. Civ. R. 83.1).




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        Of course, now that counsel is aware that federal courts in Mississippi have applied this
standard, he will change his practice, as stated below.
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        Local counsel has found eight cases in which a federal court in Mississippi considered this
issue. None of the cases were assigned federal reporter citations, suggesting all are unpublished.

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        In the remaining five cases, of which some involved more troubling facts than anything in

the record here, the courts granted pro hac vice applications and denied requests to strike filings.

See Secherest v. City of Lexington, No. 3:24-cv-34-TSL-MTP, 2024 U.S. Dist. LEXIS 68867 (S.D.

Miss. Apr. 16, 2024) (granting pro hac vice status even though application was not filed until after

a motion to disqualify was filed and involved incorrect notations in signature block); McDonald

v. Trustmark Nat'l Bank, No. 3:18-cv-852-DPJ-FKB, 2019 U.S. Dist. LEXIS 23982 (S.D. Miss.

Feb. 14, 2019) (granting pro hac vice application and denying motion to disqualify noting that

foreign attorney never signed pleadings and signature block included notation that application was

forthcoming); Clayton v. City of Oxford, No. 3:21-cv-00174-GHD-JMV, 2021 U.S. Dist. LEXIS

193958 (N.D. Miss. Oct. 7, 2021) (denying motion to disqualify and granting pro hac vice

application after finding opposing party “essentially waived” alleged objections by failing to

promptly raise them); In re Kugel Mesh Hernia Repair Patch Litig., 2011 U.S. Dist. LEXIS

110026 (D.R.I. Sep. 6, 2011); and Arnesen v. Raimondo, No. 1:23-CV-145-TBM-RPM, 2023 U.S.

Dist. LEXIS 188870 (S.D. Miss. Oct. 20, 2023) (discussed below).4

       The instant case is most analogous to a recent case in this Court, Arnesen v. Raimondo, No.

1:23-CV-145-TBM-RPM (S.D. Miss. July 25, 2023) (ECF 17) (attached hereto as Exhibit 1). In

Arnesen, Plaintiffs filed several documents with the Court that were signed by a Mississippi-

licensed attorney, but also included foreign attorneys’ signature blocks along with the notation

“pro hac vice application forthcoming.” Id. The documents, like here, were filed over the course

of several weeks in expedited proceedings and occurred both before and during the pendency of



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       In re Kugel Mesh, involved a motion to disqualify the same attorney whose egregious
conduct was the subject of In re Williamson. 2011 U.S. Dist. LEXIS 110026 at *20. Despite his
egregious conduct both in that federal case and in In re Williamson state proceedings, which
strongly suggested he was engaged in the unauthorized practice of law in Mississippi, the
Magistrate Judge recommended his pro hac vice application be granted. Id.

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applications for pro hac vice admissions. Id. Like here, the Court sua sponte raised its concerns

the applicants may have run afoul of L.U. CIV. R. 83.1(d)(7)(E) but noted that none of the

Defendants objected to the foreign attorneys’ signature blocks appearing on the filings. Id. The

Court also noted that the attorneys in Arnesen did not affix their signatures to the pleadings. Id.

The Court concluded the order by granting the foreign attorneys’ pro hac vice application and

cautioned local counsel against signing such pleadings and admonished them and the foreign

attorneys to review the “Local Rules for PHV admissions and their respective duties.” Id. The

Court did not suggest that it was considering sanctions and resolved the matter by warning counsel

to avoid such filings going forward.

       The undersigned counsel respectfully submits that the Court should apply the same

approach it adopted in Arnesen. Local counsel will not include in any future filings the names of

attorneys not yet admitted and will ensure he reviews the local rules on pro hac vice admission.

II.    The Application of In re Williamson Appears to Conflict With the Text of L.U. CIV.
       R. 83.1.

       Plaintiff submits that no further briefing on this issue is necessary. However, in an

abundance of caution, in order to preserve its arguments for the record if an appeal becomes

necessary, Plaintiff addresses the application of In re Williamson in this context.

       Plaintiff submits that it is not clear that the interpretation of “appearance” as set forth by

the Mississippi Supreme Court in In re Williamson has been adopted into this Court’s local rules,

which contributes to confusion about its application. Plaintiff’s counsel acknowledges the

individual decisions discussed in Section I, supra, but submits that this discussion is focused on

the Court’s district-wide updates to Local Rules or other public notices, which are distinguishable

from individual unpublished decisions.




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       The local rules of this District provide that “[t]he rules of procedure in any proceeding in

[the United States District Courts serving the State of Mississippi] are those prescribed by the laws

of the United States and the Federal Rules of Civil Procedure, along with these local rules and

orders entered by the court.” L. U. CIV. R. 1. In re Williamson addresses appearances in Mississippi

state courts under Miss. R. App. P. 46. See 838 So. 2d 226.5 The definition of “appearance”

described in In re Williamson has not been explicitly adopted into the text of the local rules or any

special or general order of this Court as governing appearances in federal courts located in

Mississippi.6

       To add to the confusion, the characterization of “appearance” in In re Williamson may

conflict with L.U. CIV. R. 83(b)(1). “Appearances” in federal courts in Mississippi are addressed

in L.U. CIV. R. 83.1(b). That rule provides, in part, that every “other paper … must be signed…

by at least one attorney of record admitted to the general practice of law in the district court in

which the action is pending.” L.U. CIV. R. 83.1(b)(1) (emphasis added). The “at least one”

language suggests that the rule is aimed at ensuring that every pleading has, at a minimum, been

signed by one attorney who is admitted in this district. It can also be read to suggest that the rule

contemplates that non-admitted attorneys might be listed on pleadings, but demands that they are

signed by at least one admitted attorney. In any event, the rule does not indicate that non-admitted

attorneys are forbidden from having their names appear on documents. Nor does it reference Miss.

R. App. P. 46 or the notice issued in In re Williamson. Moreover, the text of L. U. CIV. R.



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        See Maternally Yours, Inc. v. Your Maternity Shop, Inc., 234 F.2d 538, 540-41, n.1 (2d Cir.
1956) (providing that if the source of the right sued upon arises out of federal law then the Erie
doctrine is inapplicable and federal procedural and substantive law controls).
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        See Local Rules and Orders, available at https://www.mssd.uscourts.gov/court-info/local-
rules-and-orders (last visited May 22, 2024). It does not appear that an update or amendment has
been made to the Local Rules to include the standard set forth in In re Williamson since it was
decided in 2003.

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83.1(b)(3), which addresses withdrawals by attorneys, suggests that appearances in this district

occur only upon the filing of an entry of appearance and upon becoming “attorney of record.” See

L. U. CIV. R. 83.1(b)(3).7

       Additionally, the rule noted in the Court’s order, L.U. CIV. R. 83.1(d)(7)(E), provides that

pro hac vice admission may not be granted if the “the applicant had, before the application, filed

or appeared in the federal court without having secured approval under these rules.” (emphasis

added). On its face, this rule relates to appearances in federal court, and the federal court’s rules.

Again, it is not clear from the district court’s rules that the Mississippi Supreme Court’s holding

in In re Williamson regarding state rules of appellate procedure would govern appearances in

federal court. To be clear, the undersigned counsel is not suggesting that the district court may not

adopt the In re Williamson definition of “appearance.” Rather, counsel is pointing out that the local

rules are not clear on that issue, and therefore any violation of L.U. CIV. R. 83.1(d)(7)(E) in this

case was entirely unintentional.8

       To be sure, this Court “enjoy[s] broad discretion to determine who may practice before it.”

United States v. Nolen, 472 F.3d 362, 371 (5th Cir. 2006); and L.U. Civ. R. 83.1(d)(2). In Isom v.

Valley Forge Ins. Co., 716 F. App’x 280, 288 (5th Cir. 2017) (unpublished), the Fifth Circuit Court

of Appeals affirmed this Court’s decision to deny and revoke the foreign attorneys’ pro hac vice




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          Likewise, Form 6 (ND/SD Miss. Dec. 2016) “Application for Admission Pro Hac Vice”
includes several questions regarding compliance with L.U. CIV. R. 83.1, but does not reference the
definition of “appearance” in In re Williamson.
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          To further show the confusion about this issue, Plaintiff submits that there are other cases
in this district in which filed documents listed names of foreign attorneys who had not yet filed
their application for pro hac vice admission, but the standard in In re Williamson was not applied.
See, e.g., Disability Rights Mississippi, et al. v. Fitch et al., 3:23-cv-00350-HTW-LGI, ECF 1
(May 31, 2023). Plaintiff submits that until there is consistency in the application of In re
Williamson to appearances in federal court, sanctions against counsel are not appropriate,
particularly where the mistake was unintentional.

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admissions. But in that case, the offending attorneys waived their arguments by failing to file any

response to the objection in the trial court. Isom 2016 U.S. Dist. LEXIS 103261 at *4-5.9

Furthermore, that ruling dealt with the Court’s authority to deny or grant pro hac vice admissions,

rather than the Court’s authority to sanction attorneys for failing to comply with the local rules.

       Following the entry of the Order to Show Cause, local counsel is now aware of the

decisions in this district applying In re Williamson in the context of pro hac vice applications. Had

local counsel been aware of these decisions, he certainly would not have filed documents listing

any counsel other than Mississippi-licensed or pro hac vice admitted attorneys. Local counsel has

changed his practice in this district to comply with In re Williamson. Local counsel cannot find

any case in in which counsel was sanctioned for failing to comply with In re Williamson, and he

submits respectfully his good faith error in this case does not warrant sanctions.

                                         CONCLUSION

       For the foregoing reasons, Plaintiff submits that good cause does not exist to sanction local

counsel as considered in the Order to Show Cause. ECF 95. As set forth above, Mr. Lee’s

application for pro hac vice admission has been withdrawn.




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       In Isom, the Fifth Circuit Court of Appeals also cited L.U. CIV. R. 83.5 (adopting
Mississippi Rules of Professional Conduct). Like L.U. CIV. R. 83.1, the text of the Mississippi
Rules of Professional Conduct do not adopt the broad definition of “appearance” under In re
Williamson.

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